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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                          :
 KALMAN ROSENFELD, individually and                       :
 on behalf of all others similarly situated,              :   No.: 1:20-cv-04662-FB-PK
                                                          :
                            Plaintiff,                    :
                                                          :
 v.                                                       :   STIPULATED SECOND
                                                          :   AMENDED SCHEDULING
 AC2T, INC.                                               :   ORDER
                                                          :
                            Defendant.                    :
                                                          :
---------------------------------------------------------x

        WHEREAS the parties have met and conferred and agreed upon an amended discovery

schedule, it is hereby stipulated to and agreed as follows:

             1. Motion for Rule 23 Class Certification shall be due on or before September 7, 2022.

             2. The Opposition to the Motion for Rule 23 Class Certification shall be due 49 days
                after the moving brief is filed.

             3. The Reply in Further Support of the Motion for Rule 23 Class Certification shall be
                due 28 days after the Opposition is filed.

             4. All fact discovery is to be completed 60 days after the ruling on the motion for class
                certification.

             5. A joint status report certifying the close of fact discovery and indicating whether
                expert discovery is needed is due 60 days after the ruling on the motion for class
                certification.

             6. Affirmative expert reports are due 60 days after the ruling on the motion for class
                certification.

             7. Rebuttal expert reports are due 90 days after the ruling on the motion for class
                certification.

             8. Depositions of experts are to be completed 120 days after the ruling on the motion
                for class certification.

             9. All discovery is to be completed 120 days after the ruling on the motion for class
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               certification.

           10. A joint status report certifying the close of all discovery is due 120 days after the
               ruling on the motion for class certification.

           11. If any party seeks a dispositive motion, the request for a pre-motion conference (if
               required) or the briefing schedule must be filed 127 days after the ruling on the
               motion for class certification.

       The parties may jointly agree to amend the above dates by filing a further stipulation with

the Court, which shall be subject to the Court’s approval. This schedule may also be amended for

cause upon application of a party to the Court.




Dated: New York, New York
       February 22, 2022


VENABLE LLP                                            BURSOR & FISHER, P.A.


By: /s/ Edward P. Boyle                                By: _/s/ Alec M. Leslie_____________
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                                                       Attorneys for Plaintiff
Attorneys for Defendant AC2T, Inc.




                                                    Dated: Brooklyn, New York
SO ORDERED
                                                           February 22, 2022
Peggy Kuo
_______________________
Honorable Peggy Kuo
United States Magistrate Judge
